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                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA


                                          PRO MEMO

                                                                07/28/2020 09:30 AM
                                                                COURTROOM 8B
HONORABLE CATHERINE MCEWEN
CASE NUMBER:                                                    FILING DATE:
8:20-bk-03758-CPM                         7                       05/14/2020
Chapter 7
DEBTOR:                 Bay Area Health, LLC


DEBTOR ATTY:           Buddy Ford
TRUSTEE:               Richard Dauval
HEARING:
Motion for Relief from Stay. Re: Discovery. Filed by Christie D Arkovich on behalf of Creditor Stewart Abramson (Doc #6)

APPEARANCES::
HEATHER REEL; BARBARA LEON; GREGORY STROCK..

RULING:
Motion for Relief from Stay. Re: Discovery. Filed by Christie D Arkovich on behalf of Creditor Stewart Abramson (Doc #6)..
GRANTED..ORDER BY LEON..
Proposed Orders, if applicable, should be submitted within three days after the date of the hearing - Local Rule 9072-1(c). Orders
not submitted by the time of closing will result in motions/objections/applications being denied as moot. This docket
entry/document is not an official order of the Court.




                                  Case Number 8:20-bk-03758-CPM                       Chapter 7
